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8                                                UNITED STATES DISTRICT COURT
9                                             SOUTHERN DISTRICT OF CALIFORNIA
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11     MARISSA LOFTIS,                                                     Case No.: 16-cv-02300-MMA (DHB)
12                                                        Plaintiff,
                                                                           ORDER GRANTING JOINT
13     v.                                                                  MOTION TO CONTINUE AND/OR
                                                                           EXTEND RELEVANT LITIGATION
14
                                                                           DEADLINES AND DATES
15     DENISE RAMOS, et al.,
                                                                           (ECF No. 35)
16                                                      Defendants.
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19               On December 12, 2017, the parties filed a Joint Motion to Continue and/or Extend
20    Relevant Litigation Deadlines and Dates. (ECF No. 35.) Good cause appearing, the Joint
21    Motion is GRANTED. Accordingly, the remaining deadlines and dates in the Scheduling
22    Order (ECF No. 23) are VACATED,1 and the Court ORDERS as follows:
23               1.          A Second Amended Complaint shall be filed by January 4, 2018.
24               2.          The deposition of Plaintiff and that of Plaintiff’s son shall be held the last
25    week of January 2018. Depositions of Defendants shall be scheduled in due course.
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                   However, to the extent the parties designated experts by December 1, 2017,
28    the expert disclosure deadlines remain in effect.
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1                3.          The parties shall file a joint motion to address any outstanding discovery
2     disputes no later than January 31, 2018. The Court refers the parties to Section IV of
3     Judge Bartick’s Civil Chambers Rules regarding discovery disputes.
4                4.          All discovery must be completed by all parties by June 29, 2018.
5     “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
6     Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period of
7     time in advance of the cut-off date, so that it may be completed by the cut-off date, taking
8     into account the times for service, notice and response as set forth in the Federal Rules of
9     Civil Procedure. Counsel must promptly and in good faith meet and confer with
10    regard to all discovery disputes in compliance with Local Rule 26.1(a). The Court
11    expects counsel to make every effort to resolve all disputes without court intervention
12    through the meet and confer process. If the parties reach an impasse on any discovery
13    issue, counsel must file an appropriate motion within the time limit and procedures outlined
14    in the undersigned magistrate judge’s chambers rules. A failure to comply in this regard
15    will result in a waiver of a party’s discovery issue. Absent an order of the court, no
16    stipulation continuing or altering this requirement will be recognized by the court.
17               5.          Failure to comply with this section or any other discovery order of the court
18    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
19    the introduction of experts or other designated matters in evidence.
20               6.          All dispositive pretrial motions, including motions for summary judgment and
21    motions addressing Daubert issues, must be filed by July 27, 2018.2 Counsel for the
22    moving party must obtain a motion hearing date from Judge Anello’s law clerk. The period
23    of time between the date you request a motion date and the hearing date may vary from
24    one district judge to another. Please plan accordingly. Failure to make a timely request
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27                This deadline is not applicable to pretrial motions in limine. For further
      information regarding motions in limine, please refer to Judge Anello’s Civil Chambers
28    Rules.
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1     for a motion date may result in the motion not being heard.
2           7.     If appropriate, following the filing of an order ruling on a motion for summary
3     judgment or other dispositive pretrial motion, or in the event no such motion is filed, after
4     the expiration of the deadline set forth in paragraph 6, supra, Judge Anello will issue a
5     pretrial scheduling order setting a pretrial conference, trial date, and all related pretrial
6     deadlines. The parties must review and be familiar with Judge Anello’s Civil Chambers
7     Rules, which provide additional information regarding pretrial scheduling.
8           8.     The parties are ORDERED to contact the Chambers of Magistrate Judge
9     Bartick within three days of the Court’s ruling on a dispositive pretrial motion, or in the
10    event no such motion is filed, after the expiration of the deadline set forth in paragraph
11    6, supra, to schedule a Mandatory Settlement Conference.
12          9.     A post trial settlement conference before a magistrate judge may be held
13    within 30 days of verdict in the case.
14          10.    The dates and times set forth herein will not be modified except for good cause
15    shown.
16          11.    Briefs or memoranda in support of or in opposition to any pending motion
17    must not exceed twenty-five (25) pages in length without leave of a district court judge.
18    No reply memorandum will exceed ten (10) pages without leave of a district court judge.
19    Briefs and memoranda exceeding ten (10) pages in length must have a table of contents
20    and a table of authorities cited.
21          Plaintiff’s counsel must serve a copy of this order on all parties that enter this case
22    hereafter.
23          IT IS SO ORDERED.
24    Dated: December 15, 2017
                                                    _________________________
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                                                    LOUISA S PORTER
26                                                  United States Magistrate Judge
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